                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

 UNITED STATES OF AMERICA,                       )
                                                 )
                       Plaintiff,                )
                                                 )
 v.                                              )                   Nos. 3:19-CR-55-TAV-HBG
                                                 )                        1:18-CR-68-TAV-HBG
 JACKSON BROWN,                                  )
                                                 )
                       Defendant.                )



                                  MEMORANDUM AND ORDER

                All pretrial motions in this case have been referred to the undersigned pursuant to

 28 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the

 District Judge, as may be appropriate. This case is before the Court on a pro se letter by

 Defendant Jackson Brown, asking for the Court to relieve appointed counsel from his case and

 expressing concerns with the lack of contact with and preparation by his attorney.            The

 Defendant’s letter was docketed as a motion for new counsel [Doc. 73] on September 18, 2020.

 The Court appointed Attorney James H. Varner, Jr., to represent Defendant Brown at his initial

 appearance on an Indictment in case number 3:19-CR-55 on April 19, 2019 [Doc. 21]. On

 August 19, 2019, the Court also appointed Mr. Varner to represent Defendant Brown in case

 number 1:18:-CR-68. 1 The Court deems Defendant’s pro se letter to be a request for substitution

 of counsel in these two cases.




 1
   Following Defendant’s entry of a guilty plea in case number 1:18-CR-68, defense counsel
 Assistant Federal Defender Gianna Maio asked to withdraw due to a conflict of interest. Upon
 his appointment in that case, Mr. Varner asked to move the sentencing hearing in 1:18-CR-68 to
 follow the trial of 3:18-CR-55. The sentencing hearing in 1:18-CR-68 is presently set to track


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                 The parties appeared on September 23, 2020, for a video motion hearing on the

 Defendant’s pro se request. Assistant United States Attorney Alan S. Kirk appeared by video

 conference on behalf of the Government. Mr. Varner and Defendant Brown also appeared by

 video conference, as did Attorney Mark E. Brown. Mr. Varner stated that the problems in the

 attorney-client relationship have been building over the seventeen-month period that he has

 represented Defendant Brown. Mr. Varner confirmed that the Defendant’s statement that he had

 only visited him at the jail three times is accurate but stated there were reasons for the limited

 visits. Mr. Varner said he did not oppose the Defendant’s request for new counsel. He agreed

 that the attorney-client relationship was irretrievably broken and that the appointment of new

 counsel would be in the Defendant’s best interest. Defendant also agreed with this assessment of

 the attorney-client relationship. AUSA Kirk stated that the Government takes no position on the

 motion.

                 Without finding any fault on the part of Mr. Varner, the Court finds that a

 breakdown has occurred in the trust and communication necessary to the attorney-client

 relationship.   The Court also finds this loss of trust and communication compromises Mr.

 Varner’s ability to present an adequate defense and to render effective assistance of counsel.

 Based upon the statements of counsel and the Defendant, the Court concludes that the breach of

 trust in the attorney-client relationship is irreparable. Accordingly, the Court finds that good

 cause exists to substitute new counsel under the unique circumstances of this case.

                 Based upon good cause shown, the Defendant’s pro se request for new counsel

 [Doc. 73] is GRANTED, and Mr. Varner is relieved as counsel of record for the Defendant in

 both cases. See Wilson v. Mintzes, 761 F.2d 275, 280 (6th Cir. 1985) (holding that a defendant


 with the trial date in 3:19-CR-55, which is October 13, 2020, before United States District Judge
 Thomas A. Varlan.
                                                 2

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 seeking to substitute counsel must show good cause). The Court directed Mr. Varner to provide

 the discovery and the Defendant’s file to new counsel soon as possible.


                  The Court recognizes the need for the Defendant to be represented continuously

 by counsel.      Attorney Mark E. Brown was present at the hearing and agreed to accept

 representation of the Defendant in both cases. The Court SUBSTITUTES and APPOINTS Mr.

 Greene under the Criminal Justice Act (“CJA”), 18 U.S.C. § 3006A, as counsel of record for

 Defendant Jackson Brown, in case numbers 3:19-CR-55 and 1:18-CR-68. During the video

 hearing, the Court encouraged the Defendant to make every effort to work with Mr. Brown and

 advised him that the Court would not be inclined to substitute counsel again, absent a showing of

 actual conflict of interest or a very good reason.


                  The trial of case number 3:19-CR-55 is set for October 13, 2020. Mr. Brown

 stated that he would be filing a motion to continue the trial date. Mr. Varner informed the Court

 that counsel for Codefendant Coy Potter also intends to file a motion to continue the trial. 2 The

 Court will address any motions to continue the trial at the pretrial conference on September 30,

 2020, at 11:00 a.m. The pretrial conference will be conducted by telephone with counsel for all

 parties who may be proceeding to trial, and Defendants Brown and Potter are excused from this

 telephonic hearing.


                  Accordingly, it is ORDERED:

                  (1) The Defendant’s pro se request for new counsel [Doc. 73] is
                      GRANTED;

                  (2) Attorney James H. Varner, Jr., is RELIEVED of his
                      representation of the Defendant. Mr. Varner is DIRECTED
                      to provide all discovery and the Defendant’s file in case

 2
     The third codefendant in case number 3:19-CR-55, Jaret Axell, is no longer proceeding to trial.
                                                      3

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                numbers 3:19-CR-55 and 1:18-CR-68 to new counsel as soon
                as possible;

             (3) Attorney Mark E. Brown is SUBSTITUTED and
                 APPOINTED as Defendant Jackson Brown’s counsel of
                 record under the CJA in case numbers 3:19-CR-55 and 1:18-
                 CR-68; and

             (4) The parties are to appear for a pretrial conference and
                 telephonic motion hearing on September 30, 2020, at 11:00
                 a.m. This hearing will be conducted by telephone conference
                 and Defendants Jackson Brown and Coy Potter are excused
                 from this hearing.

             IT IS SO ORDERED.


                                         ENTER:


                                        United States Magistrate Judge




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